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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       vs.                                   )          Case No. 18 CR 503-3
                                             )
TOMMIE MORGAN                                )

                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       In September 2019, the Court sentenced Tommie Morgan to two consecutive

sixty-month prison terms, for a total of 120 months. Morgan pled guilty to a charge of

conspiracy to distribute heroin, fentanyl, and crack cocaine and a charge of possession

of a firearm in furtherance of a drug crime, namely, the conspiracy. Morgan was fifty-

eight years old at the time of sentencing.

       Along with co-defendants Sedrick Body and Gregory Sullivan, Morgan

participated in a relatively small but well-organized retail narcotics business. The selling

was largely done by Body and Sullivan. Morgan's primary contribution was an

apartment that was used as a "stash house"; the lead investigative agent described

Morgan's role "as a sitter for the stash house."

       When law enforcement officers searched Morgan's apartment, they found not just

drugs but also four firearms. This is what led to the charge under 18 U.S.C. § 924(c).

The firearm charge carried a five-year mandatory minimum sentence that was required

to be imposed consecutively to Morgan's sentence for the drug crime. And the quantity

of narcotics involved in the drug crime entailed a five-year mandatory minimum

sentence as well.
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       The advisory Sentencing Guidelines range on the narcotics conspiracy charge

was 87 to 108 months. The Court imposed a below-Guidelines sentence of 60 months,

the mandatory minimum, plus another 60 months on the section 924(c) charge.

       Morgan reported to prison in early January 2020 and has served about ten

months of his sentence. He is serving his sentence at FCI Terre Haute.

       Morgan has filed a motion for early release under 18 U.S.C. § 3582(c)(1)(A). He

cites his medical conditions and the risks posed by the coronavirus. When Morgan filed

his motion in mid-July 2020, only a small handful of inmates at FCI Terre Haute had

tested positive for coronavirus. As of August 5, 2020, when the government filed its

response to Morgan's motion, it represented that there had been a total of only four

confirmed positive coronavirus cases at the prison. By August 19, when Morgan filed

his reply, the total number of positive tests was up to ten. The current figures, however,

are much higher. As of November 2, the number of inmates currently testing positive is

eleven, but there are another 130 who previously tested positive and have recovered—

a total of 141 inmates with positive tests. See https://www.bop.gov/coronavirus/ (last

visited Nov. 2, 2020). 1 There has also now been an inmate death at FCI Terre Haute

attributed to coronavirus disease. Id. The Court acknowledges the efforts of the

Bureau of Prisons to prevent and control the spread of the virus at FCI Terre Haute and

elsewhere, but at this point the virus can fairly be described as widespread within FCI

Terre Haute. The Court also notes that the incidence of coronavirus infections is

currently on the upswing, in particular in the Midwest, including Indiana.




1 The actual positivity rate is likely somewhat higher, as BOP is not conducting universal
testing of inmates.
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       Morgan's medical condition makes it far more likely that he will have a had

outcome if he contracts the coronavirus. Morgan suffers from Type 2 diabetes, chronic

hypertension, and sleep apnea (among other medical conditions), and his body mass

index is 45, which falls within the classification of "morbid obesity." Under current

guidance from the Centers for Disease Control and Prevention, at least two of these

conditions (diabetes and severe obesity) put him at "an increased risk for severe illness"

should he contract the coronavirus. See https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F

2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last visited Nov.

2, 2020).

       Morgan's motion is made under section 603(b) of the First Step Act, which

amended 18 U.S.C. § 3582(c)(1)(A) to provide a greater role for courts in determining

whether to reduce a defendant's sentence based on "extraordinary and compelling

reasons" warranting a reduction. As amended, and as applicable here, the statute

provides that

       [t]he court may not modify a term of imprisonment once it has been
       imposed except that—

       (1) in any case—

               (A) the court, upon motion of the Director of the Bureau of Prisons,
       or upon motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a
       motion on the defendant's behalf or the lapse of 30 days from the receipt
       of such a request by the warden of the defendant's facility, whichever is
       earlier, may reduce the term of imprisonment (and may impose a term of
       probation or supervised release with or without conditions that does not
       exceed the unserved portion of the original term of imprisonment), after
       considering the factors set forth in section 3553(a) to the extent that they

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       are applicable, if it finds that—

              (i) extraordinary and compelling reasons warrant such a reduction;

              ...

              and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission . . . .

18 U.S.C. § 3582(c)(1)(A).

       The parties agree that Morgan has satisfied the administrative exhaustion

requirement. Specifically, he made a request to the prison warden for early release on

May 14, 2020, and his request was rejected because he had served less than half of his

sentence.

       Second, there are "extraordinary and compelling reasons" that permit a sentence

reduction. The coronavirus outbreak, the virus's confirmed presence at FCI Terre Haute

and the evidence that it is not well-controlled at the institution, and the significant risk

the virus poses to Morgan due to his medical condition certainly qualify. The Court

does not consider in this regard the fact that it reduced the sentences of Morgan's co-

defendants. The reasons the Court relies upon to make this finding are specific to

Morgan and involve his medical condition and the unusual and unanticipated risks

posed by the global coronavirus pandemic.

       Third, a reduction would be "consistent with applicable policy statements issued

by the Sentencing Commission." The policy statements issued by the Sentencing

Commission even before the passage of the First Step Act included an open-ended

provision broad enough to cover the circumstances argued by Sullivan. See U.S.S.G. §

1B1.13, app. note 1(D). See, e.g., United States v. Reyes, No. 04 CR 970, 2020 WL

1663129, at *2 (N.D. Ill. Apr. 3, 2020) (Leinenweber, J.).

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       Finally, section 3582(c)(1)(A) requires the Court to consider the factors regarding

imposition of an appropriate sentence set forth in 18 U.S.C. § 3553(a). These include

Morgan's history and characteristics; the nature and circumstances of the crimes; due

consideration of the seriousness of the crimes; promoting respect for the law; providing

just punishment; affording adequate deterrence; protecting the public from further

crimes by Morgan; and providing him with any necessary services and treatment.

       The amount of time served to date by Morgan does not adequately account for

the seriousness of his offense; the Court concluded as much when it sentenced him to a

prison term totaling 120 months. On the other hand, although Morgan has a criminal

history, including prior felony narcotics convictions, it is all in the distant past: his last

felony conviction was in 1992, nearly thirty years ago. When the Court sentenced

Morgan in this case, it was bound by the mandatory minimum sentences prescribed by

law. Though Morgan's crimes were significant, the required ten-year prison sentence

was more than necessary to account for his relative culpability and impose just

punishment. Morgan was significantly less involved in the day-to-day operation of the

drug business than his co-defendants. Although he had four firearms in his apartment,

one was inoperable because it was missing a firing pin, one was a hand-me-down from

Morgan's grandmother and mother, and one was a shotgun at least 50 years old. The

fourth was a more recently-purchased handgun, which may have been there as

collateral for a drug debt, though that is unclear. The overall state of affairs was hardly

what one might consider an armed camp or an active security operation. If the Court

had not been legally required to impose a ten-year sentence, it would have imposed a

term more commensurate with those imposed on Sullivan (fifty-four months) and/or



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Body (forty-two months)

       Since the Court imposed Morgan's sentence, matters have changed significantly.

Morgan is now exposed to an infectious virus, the spread of which is almost certainly

increased in a prison environment. And he is unquestionably at risk of a severe

outcome if he contracts the virus. In short, Morgan faces a significant risk of serious

bodily harm. Requiring him to be subjected to this severe risk for an extended period—

given the length of time the coronavirus pandemic is likely to persist—does not, in the

Court's view, amount to just punishment, nor does it promote respect for the law.

       As a condition of reducing Morgan's prison term, however, the Court will add a

supervised release condition of twenty-four months of home detention with location

monitoring. In other words, Morgan's liberty will continue to be restricted in a very

significant way for the next two years. And more broadly, he will be on supervised

release, under the supervision of a probation officer, for five years. The Court is giving

Morgan a very significant break in reducing his sentence. But Morgan should be aware

that if he violates the conditions of his supervised release, knowing full well that this will

subject him to reimprisonment, the Court will not hesitate to reincarcerate him.

                                        Conclusion

       For the reasons stated, the Court grants defendant Tommie Morgan's motion for

compassionate release [303]. The Court reduces the defendant's prison sentence to

time served. The sentence reduction is conditioned upon a modification of the terms of

the defendant's supervised release to add a requirement that he serve the first twenty-

four months of his supervised release on home detention. Compliance with this

condition shall be monitored by a form of location monitoring technology selected at the



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discretion of the probation officer, and the defendant shall abide by all technology

requirements. The Clerk will prepare an amended judgment and commitment order.

Date: November 2, 2020

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                                                      MATTHEW F. KENNELLY
                                                      United States District Judge




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